Case 4:22-cv-00694 Document 1 Filed on 03/04/22 in TXSD Page 1 of 23

United States Courts
Southern District of Texas
FILED
UNITED STATES DISTRICT COURT MAR 0 4 2022
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION Nathan Ochsner, Clerk of Court’

TIMOTHY AGUILAR CaseNo, 4° Z2V CF Y

Plaintiff
Vv.
SUNRUN INC JURY TRIAL DEMAND

Defendant

COMPLAINT
Plaintiff Timothy Aguilar (“Plaintiff”) in pro se, alleges the following against Sun Run

Inc (Defendant) and unknown third-parties directed by Defendant:

INTRODUCTION

1. Plaintiff's Complaint is based on the Telephone Consumer Protection Act (“TCPA”), 47
U.S.C. §227 and § 302.101 of the Texas Business & Commercial Code. Defendant is a
solar company that markets and installs solar panels systems in numerous states throughout

the United States.
1.1 To promote its services and solicit new clients, Defendant engages in telemarketing
utilizing prerecorded voice calls without the proper consent and even after consumers request to
no longer receive calls, Defendant continues in their barrage of calls resulting in invasion of

privacy, harassment, aggravation and disruption of plaintiffs daily life activities.

JURISDICTION AND VENUE
2. This Court has subject-matter jurisdiction over the TCPA claims in this action under 28
U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising under the

laws of the United States. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 386-87 (2012)

 

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(confirming that 28 U.S.C. § 1331 grants the United States district courts federal-question subject-
matter jurisdiction to hear private civil suits under the TCPA).

3. This Court has personal jurisdiction over Defendant conducts business in the State of Texas.

4, Venue is proper under 28 U.S.C. § 1391(b)(2).

PARTIES

5. Plaintiff is a natural person residing in Pasadena, Texas, 77503.
6. Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

7. Defendant is a business entity with principal place of business, head office, or otherwise valid
mailing address at 225 Bush Street Suite 1400, San Francisco, California 94104.

Registered Agent for Service of Process - CSC Lawyers Incorporating Service - 2710 Gateway
Oaks Drive — Suite 150N, Sacramento, CA 95833

8. Defendant is a “person” as that term is defined by 47 U.S.C. § 153(39).

9. Unless otherwise indicated, the use of Defendant’s name in this Complaint includes all agents,
employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,
subrogees, representatives, vendors, and insurers of Defendant.

FACTUAL ALLEGATIONS

10. Plaintiff has a personal cellular telephone number ending in 7311.
11. Plaintiff has only used this phone number ending in 7311 as a personal cellular telephone.

12. Defendant & 3" parties directed by Defendant have placed a “multitude” of unsolicited &
harassing calls to Plaintiff on his personal cellular phone for solicitation purposes.

12.1 Plaintiff told Defendant’s agents, representatives, assigns, employee’s in specifically Gabriel,
Abdul, Voorhees, Clinton, Kennedy, Mombai and Lincoln (a) to stop calling him he was not
interested in buying any services or products; (b) to remove his number from their system; (c)
Plaintiff informed defendant’s agent’s and or employees that he was on the Do Not Call registry
& terminated the conversation; (4) On different times, plaintiff informed these individuals that he
was at work and to stop calling. Defendant & third-parties directed by Defendant still kept calling
in soliciting their solar energy products to plaintiff in the following months.

 

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13. Defendant was calling regarding the solicitation of solar energy products and or services to be
installed at Plaintiff’s residence.

14. Plaintiff did not request any type of information from Defendant or third parties directed by
Defendant about solar energy services or products to be installed at his residence. Defendant did
not have any type of consent to contact Plaintiff on a consistent basis starting around February
2021 and continuing into February 2022 with sixty-five (65) or more unwanted calls to Plaintiff's
cellular phone.

15. Plaintiff was not interested in purchasing solar energy products and or services and did not
seek information regarding Defendant services at any time.

16. When placing these calls to Plaintiff, Defendant used an automated telephone dialing system ,
artificial and/or pre-recorded voices.

17. Plaintiff knew Defendant was using an automated telephone dialing system and/or a pre-
recorded message as there was a noticeable “bloop” sound and/or pre-recorded message that
played prior to a live person coming on the line.

18. Plaintiff has been on the National and or Federal Do Not Call Registry since September 29,
2011 in order to obtain and or enjoy solitude from disruptive and consistent solicitation calls from
telemarketers. See Exhibit A.

19. Defendant’s calls were not made for “emergency purposes.”

20. In order to ascertain the identities and or origins and location of Defendant, who initiated the
repetitive calls with a pre-recorded message from “Billie or Mika from Green Energy.” Another
fictious and spoof phone number that Defendant utilized. Plaintiff went along with Defendant’s
agent named Hakim and went thru the dual verification process to get to the next level. Plaintiff,
next spoke with Defendant’s employee named David Perkins (who also made numerous calls and
sent texts to plaintiff's cell number thereafter from 239-510-8053) and receiving Defendant’s
proposal, hence, the identity of the TCPA violator discovered. See Exhibit “B”.

21. Defendant’s incessant calls were bothersome, disruptive and frustrating for Plaintiff to endure.
Defendant’s multitude of calls were made to Plaintiff while he was at work. (See Exhibits C-J,
screenshots of missed & taken calls from Defendant) Plaintiff kept receiving Defendant’s local
call’s (from spoof numbers) daily and weekly during the 2021 year and when he heard Billie or
Mika from Green Energy, he hung up.

22. Defendant, or any of their employees, heirs, representatives, assigns, members, are not
registered as telephone solicitor(s) with the Texas Secretary of State as required by the Texas
Business and Commerce Code.

23. This was confirmed by checking if Defendant or any of their employees, members, assigns,
representatives were registered at: https://direct.sos.state.tx.us/telephone/TelephoneSearch.asp.

 

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24. Upon information and belief, Defendant conducts business in a manner which violates the
Telephone Consumer Protection Act, and, the calls made by Defendant and third parties directed by
Defendant, violate Texas law by spoofing the caller ID’s per 47 U.S.C. § 227(e), which violate Texas
statute. Texas Business & Comm. Code 305.053

COUNT I
DEFENDANT VIOLATED THE TCPA 47 U.S.C. § 227(B)

20. Plaintiff incorporates the forgoing paragraphs as though the same were set forth at length
herein.

21. The TCPA prohibits placing calls using an automatic telephone dialing system.or automatically
generated or prerecorded voice to a cellular telephone except where the caller has the prior express
consent of the called party to make such calls or where the call is made for emergency purposes.
47 U.S.C. § 227(b)(1)(A)(iii).

23. Defendant initiated multiple telephone calls to Plaintiffs cellular telephone number using an
automatic telephone dialing system.

24. The dialing system used by Defendant to call Plaintiff’s cellular telephone calls telephone
numbers without being prompted by human intervention before each call.

25. The dialing system used by Defendant to call Plaintiff has the present and/or future capacity
to dial numbers in a random and/or sequential fashion.

26. Defendant’s calls were not made for “emergency purposes.”
27. Defendant’s calls to Plaintiff’s cellular telephone without any prior express consent.

28. Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do Not Call
Registry for almost a decade and remains active on the national Do-Not-Call Registry as of date.

29. Defendant’s acts as described above were done with malicious, intentional, willful, reckless,
wanton and negligent disregard for Plaintiffs rights under the law and with the purpose of
harassing Plaintiff.

30. The acts and/or omissions of Defendant were done unfairly, unlawfully, intentionally, deceptively
and fraudulently and absent bona fide error, lawful right, legal defense, legal justification or legal
excuse.

31. As a result of the above violations of the TCPA, Plaintiff has suffered the losses and damages as
set forth above entitling Plaintiff to an award of statutory, actual and trebles damages.

 

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COUNT II
DEFENDANT VIOLATED THE TCPA 47 U.S.C. § 227(C)

32. Plaintiff incorporates the forgoing paragraphs as though the same were set forth at length
herein.

33. The TCPA prohibits any person or entity of initiating any telephone solicitation to a residential
telephone subscriber who has registered his or her telephone number on the National Do-Not-Call
Registry of persons who do not wish to receive telephone solicitations that is maintained by the
Federal Government. 47 U.S.C. § 227(c).

34. Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do Not Call
Registry.

35. Defendant called Plaintiff on two or more occasions during a single calendar year despite
Plaintiff's registration on the Do Not Call list. See Exhibit A.

36. Defendant’s acts as described above were done with malicious, intentional, willful, reckless,
wanton and negligent disregard for Plaintiffs rights under the law and with the purpose of
harassing Plaintiff even after being told to cease and desist from calling plaintiffs cell number on
multiple occasions.

37. The acts and/or omissions of Defendant were done unfairly, unlawfully, intentionally,
deceptively and fraudulently and absent bona fide error, lawful right, legal defense, legal
justification or legal excuse.

38. As a result of the above violations of the TCPA, Plaintiff has suffered the losses and damages as
set forth above entitling Plaintiff to an award of statutory, actual and trebles damages.

COUNT Ii
DEFENDANT VIOLATED § 302.101 OF
THE TEXAS BUSINESS & COMMERICAL CODE

39. Plaintiff incorporates the forgoing paragraphs as though the same were set forth at length
herein.

40. §302.101 of the Texas Business & Commerce Code prohibits sellers from engaging in
telephone solicitation from a location in this state or to a purchaser located in this state unless the
seller obtains a registration certificate from the Office of the Secretary of State for the business
location from which the solicitation is made.

41. Defendant violated § 302.101 of the Texas Business & Commercial Code when its
representatives engaged in continuous and repetitive telephone solicitation of Plaintiff without
obtaining a registration certificate from the Office of the Secretary of State.

 

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42. §302.302(a) of the Texas Business & Commerce Code provides that a person who violates this
chapter is subject to a civil penalty of no more than $5,000 for each violation. Furthermore,
§302.302(d) provides that the party bringing the action is also entitled to recover all reasonable
cost of prosecuting the action, including court costs and investigation costs during discovery,
deposition expenses, witness fees that will be required and needed upon the trial before a jury.

Wherefore, Plaintiff, Timothy Aguilar, respectfully prays for judgment as follows:

a. All actual damages Plaintiff suffered (as provided under 47 U.S.C. § 227(b)(3)(A)) and
§302.302 of the Texas Business and Commerce Code

b. Statutory damages of $500.00 per violative telephone call (as provided under 47 U.S.C. §
227(b)(3)(B));

c. Additional statutory damages of $500.00 per violative telephone call (as provided under 47
U.S.C. § 227(C);

d. Treble damages of $1,500.00 per violative telephone call (as provided under 47 U.S.C. §
227(b)(3));

e. Additional treble damages of $1,500.00 per violative telephone call (as provided under 47 U.S.C.
§ 227(C);

f. Injunctive relief (as provided under 47 U.S.C. § 227(b)(3) and (c)

g. Statutory damages of $5,000 per violation (as provided under §302.302(a) of the Texas Business
& Commerce Code);

h. All reasonable witness fees, court costs and other litigation costs incurred by Plaintiff pursuant
to §302.302(a) of the Texas Business & Commerce Code;

i. Any other relief this Honorable Court deems appropriate.
DEMAND FOR JURY TRIAL

Please take notice that Plaintiff, Timothy Aguilar, demands a jury trial in this case

 

2807 Randolph Road
Pasadena, Texas 77503

locateutoday@aol.com

 

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State of Texas §
§
County of Harris §

BEFORE ME, appeared Timothy Aguilar, identified to me by Texas Identification, and states
that the statements made within the complaint are true and correct and exhibits attached to the
complaint are true and correct and based on personal knowledge and copies of originals.

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From: Verify@DonotCall.gov,
To: locateutoday@aol.com,
Subject: National Do Not Call Registry - Your Registration ls Confirmed
Date: Thu, Aug 1, 2019 4:56 pm

September 29, 2011. Most telemarketers will be required to stop calling you 31 days from your registration date.

Visit https://www,donotcall.gov to register another number or file a complaint against someone violating the Registry.

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Please do not reply to this message as it is from an unattended mailbox. Any replies to this email will not be responded to or forwarded. This service is used
for outgoing emails only and cannot respond to inquiries.

 

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Timothy Aguilar
2807 Randolph Rd
Pasadena, TX 77503 asi
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2500

2000

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Jan Feb Mar Apr May Jun Jul

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Solar System 37 Inverter(s) of electricity in year 1

 

The system design may change based on a detailed engineering site audit. Actual system production, offset and savings will vary based on the final system size, desi¢
rebates, system location, local’ climate, and your family's energy usage. Depending on the jurisdiction in which your system is located, your system may produce solar!
consult https://srectrade.com/ and htips://resource-solutions.org/wp-contenVuploads/2015/07/Guidelines-for-Renewable-Energy-Claims.pdf for more information about }
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ENJOY BEST-IN-CLASS SERVICE AND
WHEN YOU GO SOLAR WITH SUNRUN

Sunrun installs your system free of charge
We handle installation start to finish, so you don’t have to worry about a thing.

You prepay Sunrun for 25 years of electricity and save more
You lock in clean, renewable energy for 25 years.

  

Roof Penetration Service Transfe

Free Overproduction

Warranty Guarantee
We warrant that our roof If your system produces If you move, we guarai
penetration will be more energy than we the new homeowner |

watertight for a fulldecade _ estimate, it’s yours- for free qualify for our servic
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Since 2000, Texas Utility Rates have risen up to 39%*
What will your rates be in 20 years?

 

Utility Rate Increases in Texas (2000-2016) Implied Year 1 Energy
ASM pm : : Rate**

Federal Solar Tax Credit
Your Cost Today

(includes tax)

Est. Monthly Utility Bill :

 

 

 

 

 

 

 

 

 

 

 

 

 

2060 2002 2004 2006 2008 2010 2012 2014 2016

 

 

Sunrun can meet 101% of your energy needs eli Cen 4

 

*See https://www.eia.gov/electricity/data/eia826/. **Sunrun estimates your year 1 energy rate with your utility by dividing your estimated annual utility bill by your estime
calculate your year 1 Sunrun energy rate by dividing your annual Sunrun bill by your solar system's annual production. All utility costs and savings estimates assume
Energy, A Shell Energy North America Subsidiary (“MP2”) and enroll in the Solar Buyback Plan. MP2 is not affiliated with Sunrun. MP2 rates or charges reflected in thi:
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proposal does not factor any early termination or retail electricity provider transfer cost that may be associated with switching providers. This proposal is an estimate ;
production or savings. The systern design may change based on a detailed engineering site survey. Actual system production and savings will vary based on the final s
applicable rebates, actual sales tax owed by you, and your family’s energy usage. ©2016 Sunrun, Inc. All rights reserved. CSLB License No. 969975 E. Proposal ID: F

days after 2/10/2022,
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Referrals

Get $350 for each person you.
refer that goes solar Be) gs

 

referral bonuses!
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From: locateutoday@icloud.com,
To: locateutoday@aol.com,
Subject: Screenshot 2022-02-10 at 10.37.37 AM
Date: Thu, Feb 10, 2022 10:37 am
Attachments: Screenshot 2022-02-10 at 10.37.37 AM.png (184K)

 

Green energy again

Sent from my iPhone

1 Attached Images

+1 (832) 687-6235

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From: locateutoday@aol.com,
To: locateutoday@aol.com,
Subject: Screenshot 2021-04-08 at 5.17.03 PM
Date: Thu, Apr 8, 2021 5:17 pm
Attachments: Screenshot 2021-04-08 at 5.17.03 PM.png (275K)

 

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From: locateutoday@aol.com,
To: locateutoday@aol.com,
Subject: Screenshot 2021-03-10 at 12.46.54 PM
Date: Wed, Mar 10, 2021 12:47 pm
Attachments: Screenshot 2021-03-10 at 12.46.54 PM.png (278K)

 

Billie with green energy

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To: locateutoday@aol.com,
Subject: Screenshot 2021-03-15 at 1.02.10 PM
Date: Mon, Mar 15, 2021 1:02 pm
Attachments: Screenshot 2021-03-15 at 1.02.10 PM.png (277K)

 

Green energy Billie

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From: locateutoday@aol.com,
To: locateutoday@aol.com,
Subject: Screenshot 2021-02-11 at 9.24.00 AM
Date: Thu, Feb 11, 2021 9:24 am
Attachments: Screenshot 2021-02-11 at 9.24.00 AM.png (347K)

 

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From: locateutoday@aol.com,
To: locateutoday@aol.com,
Subject: Screenshot 2021-04-20 at 12.58.43 PM
Date: Tue, Apr 20, 2021 12:59 pm
Attachments: Screenshot 2021-04-20 at 12.58.43 PM.png (277K)

 

Billy with green energy

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From: locateutoday@aol.com,
To: locateutoday@aol.com,
Subject: Screenshot 2021-03-05 at 1.45.30 PM
Date: Fri, Mar 5, 2021 1:45 pm
Attachments: Screenshot 2021-03-05 at 1.45.30 PM.png (273K)

 

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JS44 (Rev. 04/21) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Timothy Aguilar SunRun Inc

(b) County of Residence of First Listed Plaintiff Harris County of Residence of First Listed Defendant San Francisco, CA
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S, PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c} Attormcys (Firm Name, Address, and Telephone Number) Attomeys (If Known)
Timothy Aguilar, Pro Se
2807 Randolph Rd, Pasadena, Tx 77503 - 832-689-731 1

 

 

II. BASIS OF JURISDICTION (Ptace an “x” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Bax for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
oO 1 U.S. Government h3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Nat a Party) Citizen of This State {x}! [[] 1 Incorporated ar Principal Place fle (44
of Business In This State
oO 2 U.S. Government C4 Diversity Citizen of Another State | 2 [x] 2 Incorporated and Principal Place oO s [x] 5
Defendant (ndicate Citizenship of Parties in Trem 11) of Business In Another State
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IV. NATURE OF SUIT (Place an x in One Box Only) Click here for: Nature of Suit Code seein:

110 Insurance PERSONAL INJURY PERSONAL INJURY 6 625 5 Drug Related Seizure 422 Appeal 28 USC 158

  

  

120 Marine 310 Airplane TL 365 Personal Injury - of Property 21 USC 881 423 Withdrawal |_| 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |] 690 Other 28 USC 157 3729(a))
140 Negotiable instrument Liability CL] 367 Health Care/ EeIN Dn UA ] 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROP G |_| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act |] 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability Ol 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 7 340 Marine Injury Product Now Drug Application 470 Rackctecr.Influenced and
{Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY UABOR 3 4 880 Defend Trade Secrets [_] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
O 160 Stockholders’ Suits +] 355 Motor Vehicle H 371 Truth in Lending Act 485 Telephone Cousumer
[_| 190 Other Contract Product Liability [_] 380 Other Personal | 720 Labor/Management FCTAL Tr Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Tnjury CT 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commadities/
362 Personal Injury - Product Liability 75\ Family and Medical 863 DIWC/DIWW (405(2)) Exchange

   
  

Medical Malpractice

   
   
   
 

Leave Act 864 SSID Title XVI 7 890 Other Statutory Actions
ERSPETLELO 790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
Habcas Corpus: 791 Employee Retirement 893 Environmental Matters
|_| 463 Alien Detainee Income Security Act LE ATTY 895 Freedom of Information
[_ | 510 Motions to Vacate n 870 Taxes 5(U. S. . Plaintiff Act
Sentence or Defendant) 896 Arbitration
[| 530 General {0 871 IRS—Third Party H 899 Administrative Procedure

   
      
  
    
   
   
 
 
 

    
   

440 Other Civil Rights

| 441 Voting

| 442 Employment

443 Housing/
Accommodations

|_|210 Land Condemnation
| 220 Foreclosure

|_|230 Rent Lease & Ejectment
|_| 240 Torts to Land

|_| 245 Tort Product Liability

   
 
  

    

     

 

 

 

 

 

 

 

CL] 290 All Other Real Property rl 445 Amer. w/Disabilities -[/_| 535 Death Penalty peer 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization wv Application Agency Decision
wi 446 Amer. w/Disabilities -[[ ] 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other f_ | 550 Civil Rights Actions State Statutes
| 448 Education | 555 Prison Condition
K_| 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Oaly)
ix] 1 Original O 2 Removed from CO 3 Remanded from CO 4 Reinstated or oO 5 Transferred from oO 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
47 U.S.C. Sect. 227(B) and (C)

Brief description of cause:
PLaintiff is on Do Not Call Registry since 9-29-2011 - Def. made over 65 calls to Plaintiff's cell phone in a years time, even after beng told to stop ca

VIT. REQUESTED IN = [] CHECK IF THISIS A CLASS ACTION DEMAND $ 1 CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. ¢ bb © 00,9 juRY DEMAND: Yes [No

VIIL RELATED CASE(S)

‘See instructions,
IF ANY Ge a DOCKET NUMBER
DATE SIGN, RE OF RTTORNE fo RECORD
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FOR OFFICE USE ONLY

VI. CAUSE OF ACTION

 

 

 

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
